Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 1 of 43 PAGEID #: 1430




                    IN THE UNITED STATES DISTRICT
                  COURT FOR THE SOUTHERN DISTRICT
                      OF OHIO WESTERN DIVISION

TYLER GISCHEL,                             )
                                           )     CIVIL ACTION NO. 1:17 CV 475
                                           )     JUDGE: SUSAN J. DLOTT
     PLAINTIFF,                            )
                                           )
           v.                              )
                                           )
UNIVERSITY OF CINCINNATI, et al.           )
                                           )
     DEFENDANTS.                           )


  MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
              PLAINTIFF’S AMENDED COMPLAINT
Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 2 of 43 PAGEID #: 1431



                                         TABLE OF CONTENTS


 I.     INTRODUCTION ………………………………………………………………….1

 II.    FACTS PRECLUDING DISMISSAL OF GISCHEL’S CLAIMS . . . . . . . . . . . . . .2

 III.   LAW AND ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .10

            A. Standard . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .10

            B. UC’s Motion to Dismiss Gischel’s Title IX Claims Should Be Denied Because
               Those Claims Are Based on Specific Allegations of Gender Bias that Must Be
               Construed in Gischel’s Favor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
                 Title IX of the Education Amendments of 1972 provides that “[n]o person in
                 the United States shall, on the basis of sex, be excluded from participation in,
                 be denied the benefits of, or be subjected to discrimination under any education
                 program or activity receiving Federal financial assistance.” 20 U.S.C. §
                 1681(a). The Sixth Court, without expressly deciding the issue but looking to
                 the Second Circuit Court of Appeals’ decision in Yusuf v. Vassar College, 35
                 F.3d 709 (2d Cir. 1994) for guidance, has recognized the existence of two types
                 of Title IX claims male students can advance when erroneously disciplined for
                 false allegations of sexual misconduct: (1) erroneous outcomes; and (2)
                 selective enforcement. See Mallory v. Ohio Univ., 76 Fed.Appx. 634, 638–39
                 (6th Cir. 2003). Gischel successfully pled both types of claims here.


                 1. Gischel has sufficiently pled an erroneous outcome claim based on
                    allegations of gender bias that cast doubt on the accuracy of the disciplinary
                    hearing and has established a particularized causal connection between the
                    flawed outcome and UC’s gender bias. . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

                      The Sixth Circuit Court of Appeals has held that, to state an erroneous
                      outcome claim, a plaintiff must plead: (1) “facts sufficient to cast some
                      articulable doubt on the accuracy of the outcome of the disciplinary
                      proceeding” and (2) a “particularized ... causal connection between the
                      flawed outcome and gender bias.” Cummins, 662 F. App’x at 452 (citing
                      Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994)). Gischel’s
                      erroneous outcome claim should not be dismissed because Gischel satisfies
                      both elements in his FAC.

                 2. UC’s motion to dismiss Gischel’s hostile environment sexual harassment
                    and/or discrimination claim should be denied because Gischel has
                    sufficiently pled all elements of that claim. . . . . . . . . . . . . . . . . . . . . . . . .22


                                                            i
Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 3 of 43 PAGEID #: 1432



                  Gischel has pled sufficient facts to state a claim for hostile environment
                  sexual harassment based on existing law. In Klemencic v. Ohio State
                  University, 263 F.3d 504 (6th Cir. 2001), the Sixth Circuit identified three
                  elements for such a claim: (1) a “sexually hostile environment”; (2) the
                  university’s “actual notice” of this environment and “authority to take
                  corrective action to end discrimination”; and (3) the university’s response
                  to the hostile environment “amounted to deliberate indifference.” The
                  Fourth Circuit Court of Appeals reached a similar conclusion in
                  identifying four elements of a Title IX hostile environment claim as: (1)
                  plaintiff was a student at an educational institution receiving federal
                  funds, (2) he/she was subjected to harassment based on his/her sex, (3) the
                  harassment was sufficiently severe or pervasive to create a hostile (or
                  abusive) environment in an educational program or activity, and (4) there
                  is a basis for imputing liability to the institution. See Jennings v. Univ. of
                  N.C., 482 F.3d 686, 695 (4th Cir. 2007), en banc.

             3. UC’s motion to dismiss Gischel’s deliberate indifference claim should be
                denied because the Sixth Circuit has acknowledged the validity of such a
                claim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .23


                  Citing to an opinion from the District Court for the Eastern District of
                  Michigan, UC claims that a Title IX “deliberate indifference” claim fails
                  because it does not apply to cases “where the student alleges
                  ‘discriminatory application of a facially gender-neutral policy by school
                  officials.’” See UC MTD at PAGEID#1405, citing Doe v. Baum, No. 16-
                  13174, 2017 WL 57241, at * 26 (E.D. Mich. Jan. 5, 2017). However, no
                  court in this District has reached such a holding. Rather, the Sixth Circuit
                  in Mallory v. Ohio Univ. (76 Fed.Appx. 634, 639 (6th Cir. 2003) assumed
                  that such a claim was valid. In Mallory, the court described the three
                  elements of a Title IX deliberate indifference claim as requiring that a
                  plaintiff establish: (1) “an official of the institution had authority to
                  institute corrective measures had actual notice of, and was deliberately
                  indifferent to, the misconduct;” (2) the university’s conduct caused the
                  student “to undergo harassment or make [him/her] liable or vulnerable to
                  it;” and (3) the university’s “response to the harassment . . . is clearly
                  unreasonable in light of the known circumstances.” Id. at 638.

             4. UC’s motion to dismiss should be denied because Gischel has sufficiently
                pled a Title IX selective enforcement claim based on allegations that UC
                treats similarly situated females more favorably. . . . . . . . . . . . . . . . . . . .25

                  As articulated in Marshall v. Ohio Univ., with regard to a Title IX selective
                  enforcement claim a plaintiff: “essentially asserts that even if he or she did
                  violate a university policy, the decision to initiate disciplinary proceedings
                  or the severity of the penalty imposed was motivated by gender bias. To
                  state such a claim, [a plaintiff] must allege "that a female was in

                                                        ii
Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 4 of 43 PAGEID #: 1433



                    circumstances sufficiently similar to his own and was treated more
                    favorably by [defendant university]." Moreover, [a plaintiff] must allege
                    facts that would demonstrate that the difference in treatment was because
                    of his gender.” Marshall, 2015 U.S. Dist. LEXIS 155291, *17-18 (citations
                    omitted). Here, Gischel has pled plausible facts establishing that UC’s
                    gender bias triggered flawed and unjust disciplinary proceedings that
                    caused UC to impose severe sanctions against Gischel even though the
                    allegations against him were patently false.
          C. Gischel’s § 1983 Claims Should Not Be Dismissed because Gischel Properly
             Alleged Facts Establishing the Individual Defendants’ Gender-Biased Conduct
             Resulted in a Violation of His Procedural and Substantive Due Process and
             Equal Protection Rights. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . . . . 29

               Gischel asserted claims under 42 U.S.C. § 1983 for Individual Defendants’
               violations of procedural and substantive due process and a violation of equal
               protection under the Fourteenth Amendment based on their gender-biased
               conduct. Those claims were supported with properly pled allegations of gender
               bias.

               1. Gischel stated a claim for equal protection based on the Individual
                  Defendants’ unequal treatment of male students. . . . . . . . . . . . .. . . . . . . .29

                    To establish an equal protection violation, a plaintiff must show that a
                    defendant has “burdened a fundamental right, which he was exercising,
                    targeted a suspect class, of which he is a part, or treated him any differently
                    than others similarly situated without any rational basis.” Radvansky v.
                    City of Olmsted Falls, 395 F.3d 291, 313 (6th Cir. 2005).

               2. Gischel stated a claim for violation of substantive due process based on
                  the Individual Defendants’ violation of Gischel’s equal protection rights30

                    The Fourteenth Amendment provides that “[n]o State shall . . . deprive
                    any person of life, liberty, or property without due process of law.” U.S.
                    Const. Amend. XIV, § 1.

               3. Gischel stated a claim for violation of procedural due process based on the
                  gender-biased disciplinary proceedings. . . . . . . . . . . . . . . . . . . . . . . . . . .30

                    To establish a procedural due process claim, [Gischel] must show that (1)
                    [he] had a life, liberty, or property interest protected by the Due Process
                    Clause; (2) [he] was deprived of this protected interest; and (3) the state
                    did not afford it adequate procedural rights.” Daily Servs., LLC v.
                    Valentino, 756 F.3d 893, 904 (6th Cir. 2014). The Sixth Circuit has held
                    that suspension resulting from a university’s disciplinary decision “clearly
                    implicates a property interest.” Cummins, 662 Fed. Appx. at 445.


                                                       iii
Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 5 of 43 PAGEID #: 1434



          D. The Individual Defendants Are Not Entitled to Qualified Immunity as to the
             University’s Title IX Proceeding because They Violated Clearly Established
             Statutory and/or Constitutional Rights of Which a Reasonable Person Would
             Have Known. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .35

               There is no qualified immunity here. Qualified immunity shields government
               officials performing discretionary functions from liability if they have violated
               an individual's constitutional right, but that right was not “clearly
               established” when the officials acted. See Marvin v. City of Taylor, 509 F.3d
               234, 243 (6th Cir. 2007). To determine whether a government official is
               entitled to qualified immunity, courts apply a two-part test: “(1) whether,
               considering the allegations in a light most favorable to the party injured, a
               constitutional right has been violated, and (2) whether that right was clearly
               established.” Colvin v. Caruso, 605 F.3d 282, 290 (6th Cir. 2010) (quoting
               Estate of Carter v. City of Detroit, 408 F.3d 305, 310 (6th Cir. 2005)).

          E. Gischel Adequately Pled His Claim of Malicious Prosecution under the Fourth
             Amendment to the United States Constitution Pursuant to 42 U.S.C. § 1983.36

               The elements of a Section 1983 claim for malicious prosecution are: (1) a
               criminal prosecution was initiated against the plaintiff, and the defendant
               made, influenced, or participated in the decision to prosecute; (2) there was a
               lack of probable cause for the criminal prosecution; (3) the plaintiff suffered a
               deprivation of liberty, as understood under Fourth Amendment jurisprudence,
               apart from the initial seizure; and (4) the criminal proceeding was resolved in
               the plaintiff's favor. Sykes v. Anderson, 625 F.3d 294, 309-10 (6th Cir. 2010).
               Plaintiff properly pled the claim.

          F. Defendant Richey Is Not Entitled to Qualified Immunity from the Section 1983
             Malicious Prosecution Claim . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .37

               Police officers who withhold and destroy evidence are not entitled to qualified
               immunity. Spurlock v. Satterfield, 167 F.3d 995, 1006 (6th Cir. 1999).

          G. UC’s Motion to Dismiss Gischel’s Declaratory Judgment Claims Should Be
             Denied Because That Claim Is Tied to Viable, Underlying Claims . . . . . . . . 37




                                                        iv
  Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 6 of 43 PAGEID #: 1435



   I.      INTRODUCTION

        Defendants University of Cincinnati, (“UC”), Jyl Shaffer (“Shaffer”), UC’s former Title IX

Coordinator and investigator for the Title IX complaint filed by Jennifer Schoewe (“Schoewe”)

against Plaintiff Tyler Gischel (“Gischel”), Detective William Richey (“Richey”), UC Police

Department (“UCPD”), Daniel Cummins (“Cummins”), UC’s Assistant Dean of Students and

Director of Office of Judicial Affairs (“OUJA”), Brice Mickey (“Mickey”), Program Coordinator

in the Student Activities & Leadership Development Office at UC and served as the Chair of the

Administrative Review Committee (“ARC”) panel which heard Schoewe’s case and unlawfully

sanctioned Gischel, Tonge Mack (“Mack”), Director of Student Retention Initiatives at UC and

served on the ARC panel overseeing Gischel’s hearing, Arnett Glasco (“Glasco”), Senior

Academic Director at UC and served as one of the faculty members of the ARC panel, Rachel J.

Smith (“Smith”), professor at the UC College of Law and at all relevant times served as the

University Appeals Administrator who reviewed and ultimately denied Gischel’s appeal

(collectively, the individuals will be referred to as “Individual Defendants” and all of the

defendants as “Defendants”) conducted a gender-biased investigation against Gischel resulting in

his unlawful expulsion from UC without due process.

        The investigation was gender-biased and constitutionally insufficient because the

investigator, UCPD Detective Richey, was motivated to discriminate against Gischel because of

his gender and Richey’s romantic interest in and inappropriate relationship with Schoewe. UC and

Individual Defendants relied on Richey’s gender-biased investigation to achieve the desired result

of finding Gischel responsible. In addition, Defendants were wrongfully motivated by gender to

find Gischel responsible to avoid negative publicity, to appease Schoewe and other activists on

campus, and because of pressure from the United States Department of Education, Office of Civil
  Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 7 of 43 PAGEID #: 1436



Rights (hereinafter “DOE” or “OCR”). Defendants unlawfully expelled Gischel after he engaged

in consensual sexual activity with Schoewe based on an investigation in which crucial information

was withheld or destroyed by Defendants.

         Outside of the administrative proceeding at UC, Richey and the UCPD maliciously

prosecuted Gischel. The prosecution against Gischel was malicious because Richey withheld, and

then destroyed, relevant, presumably exculpatory information. He also instructed and encouraged

Schoewe to do the same. There is no telling what exculpatory information Richey and Schoewe

destroyed, but it had to be damning for Richey to violate his obligations to a court of law and for

Schoewe to abandon her vendetta against Gischel. Even after learning that its employee charged

with providing Gischel a fair investigation intentionally destroyed or withheld exculpatory

information, UC did nothing to remedy the harm inflicted upon Gischel.

         UC’s Motion to Dismiss fails in its entirety because Gischel’s First Amended Complaint

(“FAC”) is replete with allegations not just of the consensual nature of the sexual activity between

Gischel and Schoewe, but paragraph after paragraph describing UC’s anti-male bias and how that

bias led to a tainted investigation and disciplinary proceeding and, ultimately, to Gischel’s

unlawful discipline. Despite the many factual allegations in the FAC, UC seeks dismissal of all

counts against it, urging this Court to defy bedrock Supreme Court law by ignoring well-pled

factual allegations and by improperly construing those allegations in favor of UC. UC’s Motion

to Dismiss is not well founded and should be denied.

   II.      FACTS PRECLUDING DISMISSAL OF GISCHEL’S CLAIMS

         This case is the result of a sexual encounter between Gischel and Schoewe on August 23,

2015. See FAC at PageID#759-60, ⁋ 95-96. Gischel and Schoewe were both intoxicated at the

party where they first met on August 23rd. Id. at ⁋ 95, PageID#759. At that party, Schoewe flirted



                                                 2
  Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 8 of 43 PAGEID #: 1437



with Gischel, including kissing him, making out with him, and grabbing his penis without his

permission. Id. at ⁋ 96(a)-(d). Gischel and Schoewe left the party together and—at Schoewe’s

insistence—went to Gischel’s apartment. Schoewe was able to walk to Gischel’s apartment, climb

two flights of stairs without assistance, and converse with him. Id. at ⁋ 96(e)-(i).

       Once at the apartment, Gischel and Schoewe kissed and eventually had sexual intercourse.

Id. at ⁋ 96(i)-(m). Schoewe verbally consented to the sexual intercourse. Id. at ⁋⁋ 96(k), 107(j)-

(k), 108. She also indicated her consent through non-verbal actions. Id. at ⁋⁋ 96(m), 108. After the

sexual intercourse, Gischel offered to walk Schoewe home, but she told him she did not want him

to do so because she was going to another party. Id. at ⁋ 96(n)-(r). Schoewe was able to leave the

apartment, walk to the other party, and get home that evening on her own. Id. at ⁋⁋ 96(p)-(s), 107.

       The next day Schoewe became embarrassed by her conduct and needed an explanation for

her boyfriend. Id. PageID# 760 at ⁋⁋ 100-01. She began to research date rape drugs and reported

to her boyfriend and mother that she believed she had been drugged the night before. Id. at ⁋⁋ 101-

02. Schoewe’s mother filed a report with UCPD Detective Richey. Id. at ⁋ 102. Schoewe filed a

report with Shaffer through UC’s Title IX office. Id., PageID#761 at ⁋ 103.

       Richey and Shafer preceded with interviewing Schoewe. At the interview, Schoewe stated

that she was neither incapacitated nor intoxicated by alcohol, but felt tipsy. Instead, Schoewe

believed she was given a date rape drug, which was later disproven through a toxicology report.

Id. PageID# 760-61 at ⁋⁋ 101-02, 105. On September 4, 2015, Schoewe notified Richey she wanted

to pursue both a criminal and Title IX complaint against Gischel. Id. at PageID# 761 at ⁋ 106.

       On September 16, 2015, Richey interrogated Gischel in Shaffer’s presence. Neither

informed Gischel that he was the subject of a criminal or Title IX investigation. Id. at ⁋ 107. After

securing the interview, Shaffer informed Gischel of the Title IX complaint for the first time on



                                                  3
     Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 9 of 43 PAGEID #: 1438



September 18, 2015. Id., PageID#763 at ⁋ 109. Shaffer never interviewed Gischel or any of his

witnesses. Id., PageID#764 at ⁋ 113. 1

           During Richey’s investigation of Schoewe’s criminal and Title IX complaint, Richey and

Schoewe became romantically interested in one another. Throughout the investigation and as this

romantic relationship evolved, Richey allowed Schoewe to supplement her testimony with alleged

“facts” she would suddenly remember. Id., PageID#763 at ⁋ 110. Richey conspired with Schoewe

to create, fabricate and/or destroy evidence against Gischel. This is evidenced by the fact that

Richey, the head of UC’s Special Victims Unit, decided he would rather face the consequences of

destroying evidence than produce his cell phone communications, including text messages, with

Schoewe to the Ohio court handling the criminal case filed against Gischel as a result of the

incident. Id., PageID#755-57, 768 at ⁋⁋ 86, 126. Schoewe also destroyed evidence and refused to

produce her cell phone communications with Gischel to the criminal court. This obstruction of

justice led the criminal court to dismiss the indictment with prejudice. Id.

           In sum, Richey’s investigation that formed the basis of the criminal indictment and the

Title IX proceedings was biased because of sex. Id., PageID#734, 753-54 at ⁋⁋ 27, 79. Richey’s

bias against Gischel shines through in his interview of Gischel. Id., PageID#757 at ⁋ 89. In addition

to his sexual interests in Schoewe, Richey was also biased to believe females over males accused

of sexual assault. Id., PageID#756-57 at ⁋⁋87-89.

           At Schoewe and her mother’s insistence, UC unlawfully suspended Gischel on October 16,

2017 while UC’s investigation was still pending and when UC knew Gischel presented no harm

to Schoewe. Id., PageID#763 at ⁋ 111. Cummins granted this interim suspension to avoid negative

publicity that it was not harshly disciplining male students accused of sexual assault. Id. at ⁋ 111-



1
    The “Jill” that sat through interviews with Detective Richey was an employee of the UCPD, not Shaffer.

                                                          4
    Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 10 of 43 PAGEID #: 1439



12. Schoewe and UC have both represented in public filings in the case of Schoewe v. Univ. of

Cincinnati, Case No. 1:17-cv-00504 (filed on July 25, 2017, just twelve days after Gischel filed

his Complaint) that Gischel was not harassing Schoewe, but that she and her mother wanted him

suspended from campus because Schoewe was afraid and anxious about seeing him on campus. Id

at ⁋ 111 and Case No. 1:17-cv-00504, Doc. No. 3, PageID # 14-16. 2

        In fact, Schoewe pled that UC initially decided not to impose an interim suspension on

Gischel, but succumbed to pressure to do so after the criminal indictment. Id., Doc. No. 1 at ⁋⁋ 20,

24-27 PageID # 3- 5. As UC stated in its reply memorandum in support of the motion to dismiss

in that case, “Ms. Schoewe’s contention is that because Mr. Gischel was not immediately removed

from campus, she was made more ‘vulnerable’ to harassment, and UC should be liable for that

vulnerability even though she does not allege that she had any future action with Mr. Gischel,

much less was harassed by Mr. Gischel.” Id., at Doc. No. 6, PageID# 44.

        After the interim suspension, UC’s Title IX investigation languished until UC learned that

Schoewe had filed a complaint with OCR. See FAC, PageID#764, at ⁋ 115. On February 3, 2016,

Shaffer sent her Title IX investigation report to Cummins. See id. at ⁋ 113. Cummins subsequently

notified Gischel that the matter had been referred to the OUJA and that a procedural review was

scheduled for February 12, 2016. Id. at ⁋ 114. By at least February 9, 2016, UC also knew that

Schoewe had filed a complaint with OCR about UC’s handling of her complaint. Id. at ⁋ 115. 3


2
  The Court can consider the pleadings in Schoewe’s case against UC in ruling upon Defendants’ Motion
to Dismiss because the documents are referenced in the FAC at paragraph 111 and are public records.
Nieman v. NLO, Inc., 108 F.3d 1546, 1554 (6th Cir. 1997); see also 5A CHARLES A. WRIGHT &
ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 1357 (2d ed. 1990) (“In
determining whether to grant a Rule 12(b)(6) motion, the court primarily considers the allegations in the
complaint, although matters of public record, orders, items appearing in the record of the case, and exhibits
attached to the complaint, also may be taken into account.”).
3
  This is a good example of where UC encourages the Court not to accept the well-pled allegations in the
Complaint and instead construe all evidence in favor of UC. UC asks the Court to disregard Plaintiff’s
allegations and assume that UC was not influenced by the OCR complaint because Schoewe filed it after

                                                     5
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 11 of 43 PAGEID #: 1440



           On February 25, 2016, Cummins notified Gischel that the ARC would conduct a hearing

on March 15, 2016 concerning Schoewe’s allegations. Id., PageID#765 at ⁋⁋ 117-19. Despite the

fact UC policies required Shaffer be neutral, she appeared at the hearing with Schoewe showing

her implied support for Schoewe. Id., PageID#753-54, 765 at ⁋ 79, 119. This is consistent with

Shaffer’s gender-biased writings in favor of females in sexual assault proceedings. Id., PageID#75-

553 at ⁋⁋ 79-82. The hearing lasted less than two hours, evidencing the fact the hearing panel relied

heavily on Richey’s investigation. Id., PageID#765 at ⁋ 119.

           Defendant Mickey served as the hearing chair. While he asked Gischel almost all of

Schoewe’s questions, Mickey and the other hearing panel members refused to ask most of

Gischel’s sixty-three questions to Schoewe. Importantly, Mickey and the hearing panel members

refused to allow Gischel to inquire about Schoewe’s relationship with Richey and whether the

integrity of the investigation was compromised because of Richey and Schoewe’s romantic

interests in one another. Id., PageID#765-66 at ⁋⁋ 120-21. Specifically, the following questions

were not asked:

     (a)       Did you know or had you met Detective Richey before this incident?
     (b)       After this incident did Detective Richey secure [for you] four football tickets to a UC
               football game, which was sold out?
     (c)       Since this incident, have you called or texted Detective Richey between 1:00 A.M.
               and 5:00 A.M. in the morning?
     (d)       How many times, approximately, have you and Detective Richey texted each other?
     (e)       Why?
     (f)       Did Detective Richey ever say ‘I love you’ to you?
     (g)       Did Detective Richey ever give you a back rub?
     (h)       Did Detective Richey ever give you any gifts?
     (i)       Did Detective Richey ever give you a pendant?
     (j)       Did you ever state on social media that your detective loves you?
     (k)       Did Detective Richey ever text you saying ‘I want to kiss you?’
     (l)       Have you ever worn Detective Richey’s police hat or jacket? Exhibit 38 (containing

Gischel’s interim suspension. See MTD, Doc. No. 11, PageID#1413. Gischel has not alleged that the OCR
filing impacted the decision to issue the interim suspension. Rather, Gischel alleged that the OCR complaint
influenced the hearing and expulsion and UC’s decision to ignore the impact of Richey’s romantic
relationship on such.

                                                     6
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 12 of 43 PAGEID #: 1441



               proffered questions).

Id., PageID#766 at ⁋ 121.

          Gischel possessed evidence proving Richey and Schoewe engaged in the conduct

addressed in these questions. See FAC, Exhibit 43, p. 10 (containing social media position of

Schoewe in defendant Richey’s police hat and jacket and Richey Internal Investigation, which

investigation resulted in his removal from the Special Investigations to Criminal Investigations).

Had the panel acted neutrally, instead of relying on their gender-biased training (described in

more detail below), Gischel would have been able to substantiate how Richey and Schoewe were

conspiring to present false testimony against Gischel if Schoewe would have been required to

answer these questions truthfully. Again, the evidence supporting this belief includes the fact that

Schoewe and Richey obstructed justice in refusing to provide an Ohio court information about

their private communications which caused that court to dismiss with prejudice criminal charges

against Gischel. See, FAC, PageID#750, 766 at ⁋⁋ 69, 122.

       Mickey and the hearing panel members also refused to allow Gischel to ask questions

relating to the credibility of Schoewe’s incapacitation claim. Id., PageID#766-67 at ⁋⁋ 121, 123.

The unasked questions were:

         (a)      Did you vomit that night?
         (b)      Did you fall down while you were at the party?
         (c)      Did you fall down at all while walking to Topper’s?
         (d)      Were you carrying a purse or handbag that night?
         (e)      Did you lose anything that was in your purse or handbag?
         (f)      Did you take any prescription or non-prescription medicine the day of or the
                  evening of the party?
         (g)      Do you remember kissing Tyler that night at the party or at Topper’s?
         (h)      Did you feel embarrassed the next morning when you woke up?
         (i)      Why?
         (j)      Do you remember telling the nurses at University of Cincinnati Hospital that you
                  do not drink alcohol?
         (k)      Do you know there were no date rape type drugs found in your blood and urine
                  testing?

                                                  7
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 13 of 43 PAGEID #: 1442



         (l)    Is this a case where you woke up the next morning and you simply regretted what
                you had done the night before with Tyler?
         (m)    Did you drink too much that night?
         (n)    Did you drink enough to be mentally impaired that night?


Id., Page ID#767 at ⁋ 123. The failure to ask these questions prevented Gischel from establishing

that Schoewe was not incapacitated. Id. at ⁋ 124. UC, in particular Richey and Shaffer, also

concealed from the hearing panel the existence of a toxicology report demonstrating that Schoewe

did not have any date rape drugs in her system; thus, negating her claim that she was incapacitated

by drugs, not alcohol. Id., PageID# 754, 768 at ⁋⁋ 82, 125.

       After prohibiting Gischel from exposing these defects in Schoewe’s allegations and her

conspiracy with Richey and/or Shaffer to prohibit the introduction of exculpatory evidence, the

ARC erroneously found Gischel responsible for “violating provision(s) of the Student Code of

Conduct specifically, Violation of Law. See, Exhibit 44 (containing Dismissal of Criminal Charge

against Gischel), Physical Abuse or Harm, Harassment or Discrimination, and Violation of

University Policies or Rules, most specifically University Policy Statement of Sex Offenses.”

Id., PageID# 768 at ⁋ 126. Gischel timely appealed the discipline, but Smith rejected the appeal

and confirmed Gischel’s expulsion from UC. Id., PageID# 734, 769-771 at ⁋⁋ 27, 127-35.

       Even though UC knew about Richey’s inappropriate relationship with Schoewe (Id., Page

ID#766 at ⁋ 122), Defendants allowed his tainted investigation to serve as the basis for expelling

Gischel. Id., PageID#771 at ⁋ 135. Further, even though the criminal court dismissed the

indictment against Gischel with prejudice because Richey and Schoewe intentionally destroyed

relevant evidence as to Gischel’s innocence, UC took no action to remedy the harm inflicted upon

Gischel as a result of the biased investigation and the destruction of relevant evidence.




                                                 8
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 14 of 43 PAGEID #: 1443



       In addition to the gender-biased investigation that Gischel was subjected to in part because

of Richey’s romantic interest in Schoewe, the FAC contains detailed allegations about how UC

discriminated against male students at UC due to pressure from OCR and internal and external

groups at UC. Id., PageID# 729-58 at ⁋⁋ 12-93. The FAC also detailed how the investigation and

hearing violated UC’s policies and denied Gischel rights to which he was entitled. Id.,

PageID#771-77 at ⁋⁋ 135-57.

       Schoewe’s case and DOE complaint were highly publicized and subjected UC to pressure

and scrutiny from the DOE and the media. Id., PageID#733 at 23. The timing of UC’s decision to

set the Title IX complaint for hearing with the filing of Schoewe’s complaint with OCR is evidence

that UC felt pressured to adjudicate the manner to obtain a favorable finding from OCR. Id.,

PageID#739 at ⁋ 35. UC’s failure to address the impact that Richey’s biased investigation had on

the Title IX proceeding—even though the evidence was compelling enough for UC to demote

Richey—is additional evidence that UC was motivated to avoid negative publicity relating to its

handling of Schoewe’s well-publicized campaign against UC and its sexual assault procedures.

Id., PageID#734 at ⁋ 27.

       Gischel was also discriminated against because of UC’s gender-biased training of its

hearing panel members for the handling of sexual assault case. The training is replete with sexist,

stereotypical statements against men that presume males to be sexual predators. Id., PageID#750

at ⁋⁋ 69, 72-78. Examples of the stereotypical statements encouraging discrimination against male

students in UC’s training materials are:

        (a)     “Some men believe that spending money on a women means that she owes them
                sex at the end of the evening;”
        (b)     “Some men believe that women play hard to get, by saying “no” when they really
                mean “yes” and enjoy being aggressively pursues;”
        (c)     “Some men perceive that sex is their right;”
        (d)     Falsely alleging large percentages of male students are sexually assaulting their

                                                9
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 15 of 43 PAGEID #: 1444



                   female peers by claiming: (i) “It is estimated that for a school the size of the
                   University of Cincinnati, about 1,225 rapes or attempted rapes occur each year”
                   even though (ii) the training materials admit that in 2014 only “48 rapes reported
                   to the SARC; of those, 2 reported to UCPD;”
           (e)     “A woman has a 4x greater chance of being raped by someone she knows than
                   by a stranger;” and
           (f)     “83% of perpetrators are acquaintances (friends of the family, dates,
                   boyfriends, relatives, authority figures);” Id., p. 29 (emphasis added).

Id., PageID#750-53 at ⁋ 69. OCR warns the presence of this type of sex stereotyping may violate

Title IX’s gender neutral mandates. See e.g., OCR’s September 22, 2017 Q and A on Campus Sexual

Misconduct, p.5 (noting: ‘[decision-making techniques or approaches that apply sex stereotypes . .

. may violate Title IX . . . .”)(available at https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-

ix-201709.pdf).

   III.          LAW AND ARGUMENT

          A. Standard

          To satisfy the liberal pleading requirements of the Federal Rules of Civil Procedure and

survive a Rule 12(b)(6) motion, a plaintiff must provide only “enough facts to state a claim to

relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678, 129 S.Ct. 1937 (2009). A court must construe the complaint in a light most

favorable to the plaintiff, accepting all factual allegations as true, and drawing all reasonable

inferences in the plaintiff’s favor. Logsdon v. Hains, 492 F.3d 334, 340 (6th Cir. 2007). A

complaint must not be dismissed "unless it appears beyond doubt that the plaintiff can prove no

set of facts in support of his claim which would entitle him to relief." Conley v. Gibson, 355 U.S.

41, 45-46, 78 S.Ct. 99, 102 (1957) (emphasis added). This Court recently affirmed the 12(b)(6)

standard in the Title IX context. See Wells v. Xavier Univ., 7 F. Supp. 3d 746, 748-49 (S.D. Ohio


                                                   10
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 16 of 43 PAGEID #: 1445



2014) (a court must “construe all well-pleaded facts liberally in favor of the party opposing the

motion” and “assume their veracity”).

       The Second Circuit Court of Appeals, upon whom courts in this district have consistently

relied in construing Title IX claims, has made clear the pleading standard for Title IX claims is not

heightened for male plaintiffs seeking relief under Title IX. In Doe v. Columbia Univ., 831 F.3d

46 (2nd Cir., 2016), the Second Circuit explained that even though the McDonnell Douglas

burden-shifting framework applies in Title IX cases, it does not apply in the context of Civ. R.

12(b) motions to dismiss. Rather, Columbia held:

       [A] complaint under Title IX, alleging that the plaintiff was subjected to
       discrimination on account of sex in the imposition of university discipline, is
       sufficient with respect to the element of discriminatory intent, like a complaint
       under Title VII, if it pleads specific facts that support a minimal plausible inference
       of such discrimination.”

Id. at 56 (emphasis added); see also Brown Univ., 166 F.Supp.3d at 188 (denying a motion to

dismiss and noting that “Iqbal and Twombly did not convert the standard for surviving a motion to

dismiss into a quasi-summary judgment standard[.]”); Doe v. Regents of Univ. of California, 2:15-

cv-02478-SVW-JEM (June 8, 2017, C. Dist. CA) (reversing earlier grant of a motion to dismiss,

based on Columbia, and noting that “it is entirely possible that the Plaintiff’s claims are simply

untrue . . . After the evidence is collected and presented, the Plaintiff’s allegations of an erroneous

outcome may no longer be plausible. However, such considerations are inappropriate for this

Court at the motion to dismiss phase[.]”) (attached as Exhibit A); Doe v. Ohio State Univ., No.:

2:16-cv-171, 2017 U.S. Dist. LEXIS 34725 (S.D. Ohio, Mar. 10, 2017) at *21, quoting

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510-511 (2002) (“The Supreme Court ‘has never

indicated that the requirements for establishing a prima facie case under McDonnell Douglas also

apply to the pleading standard that plaintiffs must satisfy in order to survive a motion to dismiss .



                                                  11
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 17 of 43 PAGEID #: 1446



. . the prima facie case operates as a flexible evidentiary standard, it should not be transposed into

a rigid pleading standard for discrimination cases[.]”); Neal v. Col. St. Univ., No. 16-cv-873, 2017

WL 633045 (D. Col., Feb. 16, 2017) (citing Columbia as basis for rejecting university’s motion to

dismiss a Title IX claim); Doe v. Lynn Univ., Inc., No. 9:16–cv–80850, 2017 WL 237631 (S.D.

Fla. Jan. 19, 2017) (same). Applying this standard to the case at bar, it is clear UC’s motions must

be denied.

       B. UC’s Motion to Dismiss Gischel’s Title IX Claims Should Be Denied Because
          Those Claims Are Based on Specific Allegations of Gender Bias that Must Be
          Construed in Gischel’s Favor.

       Title IX of the Education Amendments of 1972 provides that “[n]o person in the United

States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any education program or activity receiving Federal financial

assistance.” 20 U.S.C. § 1681(a). The Sixth Court, without expressly deciding the issue but

looking to the Second Circuit Court of Appeals’ decision in Yusuf v. Vassar College, 35 F.3d 709

(2d Cir. 1994) for guidance, has recognized the existence of two types of Title IX claims male

students can advance when erroneously disciplined for false allegations of sexual misconduct: (1)

erroneous outcomes; and (2) selective enforcement. See Mallory v. Ohio Univ., 76 Fed.Appx. 634,

638–39 (6th Cir. 2003). Gischel successfully pled both types of claims here.

       Contrary to UC’s allegations throughout the brief, Gischel does not allege that UC acted in

a gender-biased manner simply because of directives and pressure from OCR. UC attempts to

ignore the evidence of gender bias and essentially asks the Court to turn the motion to dismiss

standard on its head and construe the evidence in the light most favorable to Defendants.




                                                 12
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 18 of 43 PAGEID #: 1447



Defendants do so in an attempt to ignore the astonishing facts in this case and rely on recent cases

finding that favoring victims does not equal gender discrimination. 4

        Here, Gischel presented evidence of gender bias—specifically he was expelled based on

an investigation conducted by a university employee who was both biased against males accused

of sexual misconduct and pursuing a romantic relationship with the an aggressive and assertive

Schoewe who invited widespread media attention and caused a DOE investigation into what she

asserted was UC’s mishandling of her sexual assault allegations. Specifically, Schoewe was upset

because UC did not remove Gischel from campus the minute she filed her allegations. See FAC,

PageID#763 at ⁋ 111 and Case No. 1:17-cv-00504, Doc. No. , PageID # 44.

        Nevertheless, UC’s position is: male students accused of sexual assault cannot be victims

of gender discrimination because any disparate treatment is due to victim advocacy; even if male

students were discriminated against, the court should not interfere with university proceedings;

but, if the court does intervene, UC cannot be liable because it was simply complying with DOE

directives. However, this Court should reject UC’s arguments because it need not defer to

university decisions tainted by unlawful discrimination or advice of others. See e.g., Doe v. Univ.

of Cinn., No.16-4693, 2017 WL 4228791, ** 1, 5 (6th Cir. Sept. 25, 2017) (affirming preliminary

injunction on due process grounds in part because “[d]isciplinarians, although proceeding in

utmost good faith, frequently act on the reports and advice of others . . . “[t]he risk of error is not

at all trivial, and it should be guarded against . . . without prohibitive cost or interference with the

educational process” and allegations that university decisions are “totally accurate . . . never mistaken


        4
          Gischel respectfully disagrees with these decisions and asserts that the complaints in those cases
adequately pled gender discrimination and should not have been dismissed. Notably, two of these cases are
on appeal to the United States Court of Appeals for the Sixth Circuit with oral arguments to take place in
November and December 2017. See, e.g., Doe v. Miami Univ., et al.¸ Case No. 17-3396, and Doe v. Denison
Univ., et al., Case No. 17-3401. Each of the cases are fully briefed.


                                                    13
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 19 of 43 PAGEID #: 1448



and never unfair . . . is not the case, and no one suggests that it is.”)(internal citations omitted); Doe v.

Cummins, 662 F. App’x 437, 452 (6th Cir. 2016) (holding that following DOE directives alone is

not evidence of gender discrimination, but may be considered along with other evidence of gender

discrimination); Kunda v. Muhlenberg College, 621 F.2d 532, 545 (3rd Cir. 1980) (“academic

institutions . . . are not ipso facto entitled to special treatment under federal laws prohibiting

discrimination); Elghanmi v. Franklin College of Indiana, Inc., 2000 U.S. Dist. Lexis 16667, *23

(S.D. Ind., Oct. 2, 2000)(“Congress did not intend that institutions of higher learning enjoy

immunity from the Nation's anti-discrimination statutes.”)(citing Davis v. Weidner, 596 F.2d 726,

731 (7th Cir. 1979)); Schneider v. Northwestern, 925 F. Supp. 1347, 1368 (N.D. Ill. 1996)(“courts

will not subject institutions to a more deferential standard of review or a lesser obligation to repair

the adverse effects of discrimination”)(quoting William A. Kaplin and Barbara A. Lee, The Law

of Higher Education § 3.3.2.1 at 214-15 (Jossey-Bass, 3d ed. 1995). Accordingly, this Court

should carefully analyze the unique facts of Gischel’s claims and the unlawful treatment he

received at the hands of UC and Detective Richey.

                1. Gischel has sufficiently pled an erroneous outcome claim based on
                   allegations of gender bias that cast doubt on the accuracy of the
                   disciplinary hearing and has established a particularized causal connection
                   between the flawed outcome and UC’s gender bias.

        The Sixth Circuit Court of Appeals has held that, to state an erroneous outcome claim, a

plaintiff must plead: (1) “facts sufficient to cast some articulable doubt on the accuracy of the

outcome of the disciplinary proceeding” and (2) a “particularized ... causal connection between

the flawed outcome and gender bias.” Cummins, 662 F. App’x at 452 (citing Yusuf v. Vassar

College, 35 F.3d 709, 715 (2d Cir. 1994)). Gischel’s erroneous outcome claim should not be

dismissed because Gischel satisfies both elements in his FAC.




                                                     14
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 20 of 43 PAGEID #: 1449



        First, Gischel alleged numerous facts that cast doubt on the accuracy of the outcome of his

disciplinary hearing. For example, Gischel alleges that: (1) the investigation was gender-biased

because of Richey’s anti-male bias and romantic pursuit of Schoewe; (2) Richey denied Gishel a

fair and impartial adjudication by destroying evidence from his cell phone that contained

exculpatory information; (3) Gischel was effectively denied the right to cross examine Schoewe

because his questions inquiring about her relationship with Richey and about her level of

intoxication were not asked; (3) Schoewe verbally consented to the sexual encounter; (4) Schoewe

did not exhibit signs of incapacitation; (5) UC failed to consider or remedy the impact of Richey’s

inappropriate relationship with Schoewe by either providing information about the relationship to

the hearing panel or reconsidering the discipline after demoting Richey; (6) Defendants violated

Gischel’s rights under UC policies because of anti-male pressure caused by media scrutiny and a

DOE investigation launched at the same time it was adjudicating Gischel’s case; and (7) Smith

failed to appropriate review the evidence in response to Gischel’s appeal. These allegations, and

the many others set forth in the FAC, raise serious questions about the integrity and accuracy of

UC’s disciplinary process and its outcome. See FAC, Doc. 10 & Exhibits thereto; see also Section

II, supra.

        Notably, UC attempts to distance itself from Richey’s romantic relationship with Schoewe

and his obstruction of justice in Gichel’s criminal case. UC virtually ignores it in their MTD.

However, Richey cannot be a neutral investigator while flirting with and seeking a romantic

relationship with the complaining party. UC asserts that Gischel’s texts to his friends negate

Richey’s wrongdoing and establish that Schoewe was incapacitated. This argument ignores the

other well-pled allegations in the FAC that Schoewe was not incapacitated, was capable of




                                                15
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 21 of 43 PAGEID #: 1450



consenting, and did in fact consent—both verbally and non-verbally—to the sexual intercourse,

which she later regretted. See FAC, PageID#759, 762 at ⁋⁋ 96, 107.

       UC also asserts that Gischel’s erroneous outcome claim should be dismissed because

Gischel failed to establish the second element – that there is a “causal connection between the

flawed outcome and gender bias.” See MTD at PageID#1409-14. But UC misconstrues the

alleged facts, misapplies the relevant law, and invites this Court to run afoul of bedrock precedent

requiring it to accept all factual allegations as true and draw all reasonable inferences in Gischel’s

favor. As set forth in Cummins, causation sufficient to state a Title IX discrimination claim can be

shown via “statements by members of the disciplinary tribunal, statements by pertinent university

officials, or patterns of decision-making that also tend to show the influence of gender.” Cummins,

662 F. App’x at 452.

       In this case there is no need to inquire into statements and patterns of decision-making

showing the influence of gender because there is direct evidence of gender discrimination. Namely,

in this case, we know that Richey was biased in favor of Schoewe in conducting the investigation

and that his bias for Schoewe and against Gischel was on the basis of sex.

       Gischel recognizes that Richey was not the final decisionmaker. However, his investigation

formed the basis for the decision, was the primary evidence relied upon by the hearing panel, was

intended to cause the hearing panel to find Gischel responsible for sexual misconduct under UC’s

policies, and he achieved that goal. Thus, his bias can be attributed to UC and the hearing panel

based on a cat’s paw theory of liability. The cat’s paw theory of liability developed in the Title VII

context. See e.g., Waters v. Drake, 105 F. Supp. 3d 780, 804, (S.D. Ohio, Apr. 24,

2015)(addressing cat’s paw theory in Title IX case). Basically, if a supervisory employee is

motivated by discrimination bias intended to cause an adverse employment action and the final



                                                 16
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 22 of 43 PAGEID #: 1451



decisionmaker relies on the supervisor’s biased report, then the employer is vicariously liable for

discrimination. See Chattman v. Toho Tenax America, Inc., 686 F.3d 339, 350 (6th Cir. 2012). See

also, Doe v. Case Western Reserve Univ., No.1:17CV414, 2017 WL 3840418, *7 (S.D.OH. Sept.

1, 2017) (rejecting motion to dismiss Title IX claim in part because Plaintiff alleged anti-male bias

on the part of the university’s non-decisionmaker Deputy Title IX coordinator “exercised

enormous influence over the record and evidence presented to the decision maker.”); Doe v. Penn.

St. Univ.,   No.17-cv-1315, 2017 WL 3581672, *10 (Aug. 18, 2017) (granting preliminary

injunction in due process claim because investigator improperly: (a) redacted information from

her investigative report that “if considered by the ultimate factfinder—the Title IX decision panel,

may have altered their ultimate credibility determinations,” and (b) created “a funneling effect

whereby information deemed irrelevant by the Investigator, an allegedly neutral party, is thereafter

disallowed from submission to the Title IX decision panel—the ultimate . . . arbiter of both

relevance and the accused’s fate.”).This theory applies with equal force here.

       Nonetheless, even without this direct evidence, the FAC contains evidence sufficient to

meet the requirements of Cummins. In Section II of the FAC, Gischel specifically alleges that UC

has a pattern of decision-making showing the influence of gender and that Richey and Shaffer have

made statements demonstrating the same. See FAC at ⁋⁋, PageID#729-58, 12-94. Gischel alleged

this gender bias tainted UC’s investigation and led it to engage in a flawed and superficial

adjudication which was neither independent nor impartial, and which resulted in a flawed outcome.

Id.

       In addition, Gischel alleges UC’s gender bias arose, in part, from the backlash against it

for its elimination of a program for sexual assault victims. See FAC, PageID#747-49 at ⁋⁋ 60-65.

Moreover, Gischel also alleges that:



                                                 17
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 23 of 43 PAGEID #: 1452



       23. Upon information and belief, UC feared that if UC did not show preferential
       treatment to females such as Schoewe who allege sexual misconduct by males, UC
       would lose its federal funding. Evidence supporting this belief includes, but is not
       limited to, an OCR complaint Schoewe filed against UC alleging UC “fail[ed] to
       promptly and equitably respond to complaints, reports and/or incidents of sexual
       violence of which it had notice.” See, Exhibit 4 (containing OCR Notification to
       University of Cincinnati of Investigation) and Exhibit 5 (containing the Cincinnati
       Enquirer article entitled “In the Dark: Meet the Sexual Assault Survivor Who
       Ignited a Federal Investigation of UC”)

       24. OCR’s investigation of Schoewe’s complaint against UC occurred
       simultaneously with UC’s disciplinary proceedings against Gischel. See Exhibit 46
       (containing Schoewe’s Complaint against UC filed with OCR, received pursuant to
       FOIA Request). Evidence supporting this belief includes, but is not limited to, the
       newspaper article Cincinnati Enquirer article entitled “In The Dark: Meet The
       Sexual Assault Survivor Who Ignited A Federal Investigation Of UC” Id, OCR
       documentation contained in Exhibit 4 which describes OCR’s investigation of UC
       and Exhibit 6, p.85 (containing the OUJA file) which reflects Cummins’ notation
       OUJA file that Schoewe’s accusation against Gischel was part of OCR’s
       investigation of UC.


See FAC. In multiple paragraphs, Gischel details specific facts outlining internal and external

pressure on UC, from the media, groups at UC, and the DOE, including the risk of losing a large

amount of federal funds. See id., Page ID#733-70 at ⁋⁋ 24-31, 38, 60, 66, 94, 116, 133. Therefore,

UC’s claim that the allegations of pressure asserted upon UC are “vague,” “unsubstantiated” and

“conclusory” (MTD at PageID# 1413, 1420) is thus flatly wrong.

       Taken together, Gischel’s allegations of internal and external pressure fully support

Gischel’s claim that UC’s gender bias caused the erroneous result reached by UC. Courts across

the country have refused to dismiss erroneous outcome claims premised on allegations of pressure

such as these. See e.g., Neal v. Col. St. Univ., No. 16-cv-873-(RM)(CBS), 2017 WL 633045 (D.

Col. Feb. 16, 2017)(rejecting motion to dismiss Title IX claim because male plaintiff alleged his

erroneous outcome occurred in part because defendant university “bow[ed] to DOE/OCR pressure

to discipline males); Doe v. Washington & Lee Univ., No. 6:14-cv-00052, 2015 U.S. Dist. LEXIS


                                               18
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 24 of 43 PAGEID #: 1453



102426, *29 (W.D. Va., Aug. 5, 2015)(refusing to dismiss a Title IX claim in part because male

plaintiff alleged defendant university was “under pressure from the government to convict male

students of sexual assault, [therefore] a reasonable fact finder could plausibly determine that

Plaintiff was wrongly found responsible for sexual misconduct and that this erroneous finding was

motivated by gender bias.”); Collick v. William Paterson Univ., No. 16–471(KM)(JBC), 2016 WL

6824374, *12 (D.N.J. Nov. 17, 2016), appeal pending (refusing to dismiss a Title IX claim in part

because male plaintiff alleged DOE pressure may have caused defendant university to “believe it

was in the spotlight” and therefore erroneously disciplined plaintiff to show it would sanction

males accused of sexual misconduct); Doe v. Salisbury Univ., 123 F. Supp. 3d 748, 768 (D. Md.

2015)(rejecting motion to dismiss Title IX claim in part because male plaintiffs alleged defendant

university possessed communications evidencing its erroneous discipline of plaintiffs was causally

linked to university’s desire to demonstrate to OCR that the university would aggressively

discipline male students); Doe v. Lynn Univ., Inc., No. 9:16–cv–80850, 2017 WL 237631, *4 (S.D.

Fla. Jan. 19, 2017) (refusing to dismiss a Title IX claim where male plaintiff alleged his erroneous

discipline occurred in part because of pressure related to: (a) DOE directives interpreted by

defendant university as mandating discipline of male students accused of sexually assaulting

female students; (b) criticism of defendant university’s handling of female students’ sexual assault

complaints against males; and (c) university’s awareness of said criticism); Doe v. Regents of Univ.

of California, 2:15-cv-02478-SVW-JEM (June 8, 2017, C. Dist. CA)(unreported and contained in

Doc.38-5)(rejecting motion to dismiss Title IX claim because male plaintiff alleged defendant

university faced “growing local and national pressure” to discipline male students generated in

part by female students’ OCR complaints alleging the university “failed to adequately handle their

complaints of sexual assault.”).



                                                19
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 25 of 43 PAGEID #: 1454



       Despite claiming that it accepts all of Gischel’s well-pled allegations as true, UC spends

much of its motion arguing the veracity of the allegations, providing alternative interpretations to

the facts, or outright misrepresenting the allegations in the FAC. For example, instead of accepting

as true Gischel’s allegations that UC acted in a biased manner against him because of Schoewe’s

DOE complaint, UC attempts to provide an alternate interpretation, claiming that the timing of the

OCR Complaint in relation to when the investigation began eliminates any bias argument. MTD

at PageID # 1413. This, however, asks the Court to disregard Gischel’s allegations that the

investigation was rushed forward (when it had otherwise languished) as soon as Schoewe filed the

OCR complaint and that he was found responsible, in part, to seek a favorable resolution of the

OCR complaint. See FAC at ⁋⁋ 23-26, 92-93.

       UC’s argument in this regard also draws an improper inference in favor of UC. At the Rule

12(b)(6) stage, Title IX lawsuits may not be dismissed because there may be a benign, gender-

neutral motivation for a university’s actions. See, e.g., Columbia, 831 F.3d at 58 (“Iqbal does not

require that the inference of discriminatory intent supported by the pleaded facts be the most

plausible explanation of the defendant's conduct. It is sufficient if the inference of discriminatory

intent is plausible.”); see also Doe v. Brown Univ., 166 F.Supp.3d 177, 188 (D.R.I., 2016)

(construing a Title IX defendant’s conduct as gender-neutral “improperly draws an inference in

favor of the defendant instead of the plaintiff” and “whether [a defendant’s] actions were driven

by a desire to crack down on students accused of sexual assault of any gender, or on men

specifically, simply may not be a question that can be resolved at the motion to dismiss”). As

explained by the court in a recent case involving Case Western Reserve University:

       It is not Plaintiff’s responsibility at this time to demonstrate facts that prove that the
       outcome of the disciplinary procedure was erroneous as a result of gender bias.
       Rather, to survive a motion to dismiss, Plaintiff need plead only enough facts to



                                                  20
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 26 of 43 PAGEID #: 1455



       show that his allegation that the flawed outcome of his disciplinary proceeding was
       motivated by gender bias is ‘plausible.’

Doe v. Case Western Reserve Univ. No., 2017 WL 3840418, *9 (denying motion to dismiss where

plaintiff alleged that Title IX coordinator, who was the person to investigate the complaint, prepare

the evidentiary report, and testify at his hearing was biased against men).

       The totality of the allegations set forth in Gischel’s FAC fully supports his Title IX

erroneous outcome claim. As in the Title VII context, it is the totality of the circumstances alleged

by a Title IX plaintiff that are dispositive. In two recent Title IX cases with facts similar to those

alleged here, the courts denied motions to dismiss by the universities because the totality of the

allegations were sufficient to plead a claim. See, Doe v. Case Western Reserve Univ., 2017 WL

3840418, *6-7 (S.D.OH. Sept. 1, 2017) (finding the totality of the following gender bias

allegations warranted rejection of motion to dismiss Title IX complaint); Doe v. The Trustees of

The Univ. of Penn., No.16-5088, 2017 WL 4049033, *14-16 (Sept. 13, 2017) (finding when “taken

together” the gender bias evidence sufficient to reject a motion to dismiss Title IX erroneous result

and breach of contract claim. See also, Williams v. General Motors, 187 F.3d 553 (6th Cir. 1998)

(“This totality-of-circumstances examination should be viewed as the most basic tenet of the [Title

VII] cause of action. Hence, courts must be mindful of the need to review the work environment

as a whole, rather than focusing single-mindedly on individual acts of alleged hostility.”); Neal,

2017 WL 633045 at *15 (“Taking all of [p]laintiff's allegations together—gender-skewed

implementation of the 2011 DCL, pressure to avoid DOE investigation and loss of federal funding,

procedural shortcomings against Plaintiff's ability to present evidence and question witnesses, and

Wilson's gender-biased statements—these facts are similar to those in cases that find plausible

gender bias allegations”). Because the totality of facts alleged by Gischel, properly construed,

amounts to a claim for Title IX erroneous outcome, UC’s Motion to Dismiss should be denied.


                                                 21
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 27 of 43 PAGEID #: 1456



               2. UC’s motion to dismiss Gischel’s hostile environment sexual harassment
                  and/or discrimination claim should be denied because Gischel has
                  sufficiently pled all elements of that claim.

       Gischel has pled sufficient facts to state a claim for hostile environment sexual harassment

based on existing law. In Klemencic v. Ohio State University, 263 F.3d 504 (6th Cir. 2001), the

Sixth Circuit identified three elements for such a claim: (1) a “sexually hostile environment”; (2)

the university’s “actual notice” of this environment and “authority to take corrective action to end

discrimination”; and (3) the university’s response to the hostile environment “amounted to

deliberate indifference.” The Fourth Circuit Court of Appeals reached a similar conclusion in

identifying four elements of a Title IX hostile environment claim as: (1) plaintiff was a student at

an educational institution receiving federal funds, (2) he/she was subjected to harassment based on

his/her sex, (3) the harassment was sufficiently severe or pervasive to create a hostile (or abusive)

environment in an educational program or activity, and (4) there is a basis for imputing liability to

the institution. See Jennings v. Univ. of N.C., 482 F.3d 686, 695 (4th Cir. 2007), en banc.

       Here, Gischel has alleged a hostile environment exists at UC which unfairly stereotypes

males as sexual aggressors and females as victims. Evidence cited by Gischel in support of this

allegation includes, but is not limited to: UC’s training of individuals involved in sexual

misconduct cases to believe that males are dishonest sexual predators expecting sex from women,

(See FAC, Page ID#750 at ⁋ 69); UC’s allowance of a biased investigation to serve as the basis for

expelling Gischel (id., PageID# 734-70 at ⁋⁋ 27, 69, 122, 125, 129); UC’s involvement with

organizations promoting preferential treatment of females over males in sexual assault proceedings

(id., PageID#751-53 at ⁋⁋ 72-78); UC’s belief that the female complainant is always telling the

truth leading to a presumption of guilt for a male student accused of sexual assault (id., PageID#

744-57 at ⁋⁋ 51-52, 80, 87-88); UC’s promulgation of the false statistic that one in five UC women



                                                 22
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 28 of 43 PAGEID #: 1457



are subject to sexual assault (id., PageID#741 at ⁋ 43); and UC’s showing of the film, “The

Hunting Ground,” which has been roundly criticized as being a “highly misleading if not

dishonest” portrayal of sexual assaults of female students by their male counterparts (id.,

PageID#745 at ⁋ 53) and fear of negative publicity and lawsuits (id., PageID#733-68 at ⁋⁋ 22-23,

27, 60, 66, 93, 111, 125). Gischel further alleged that these archaic assumptions about men and

women lead UC to show preferential treatment to females, and cause innocent males on UC’s

campus, like Gischel, to be harassed by way of biased and unjust disciplinary hearing and then

unlawfully disciplined on the basis of false allegations of misconduct. See id., PageID#749, 757

at ⁋⁋ 66, 89. Gischel alleged that he gave UC actual notice of this environment—most notably, in

his detailed written appeal of the disciplinary board’s flawed findings and the many examples of

flawed procedures he identified therein—and despite irrefutably having the authority to take

corrective action to end the discrimination against Gischel, UC did nothing. See id., PageID#769

at ⁋ 129.

       These facts undoubtedly support a claim for hostile environment sexual harassment, as they

are similar to facts that sufficiently withstood motions to dismiss in the cases of Rouse v. Duke

Univ., 869 F. Supp. 2d 674 (M.D.N.C., Apr. 5, 2012), and Doe v. University of Ky., No.5:150cv-

296-JMH (E.D. Ky. Aug. 31, 2016). Both of those cases involved female plaintiffs attempting to

make claims for sexual harassment, but there can be no doubt that the same standards apply to a

male plaintiff. For these reasons, UC’s argument for dismissal fails.

               3. UC’s motion to dismiss Gischel’s deliberate indifference claim should be
                  denied because the Sixth Circuit has acknowledged the validity of such a
                  claim.

       Citing to an opinion from the District Court for the Eastern District of Michigan, UC claims

that a Title IX “deliberate indifference” claim fails because it does not apply to cases “where the



                                                23
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 29 of 43 PAGEID #: 1458



student alleges ‘discriminatory application of a facially gender-neutral policy by school officials.’”

See UC MTD at PAGEID#1405, citing Doe v. Baum, No. 16-13174, 2017 WL 57241, at * 26

(E.D. Mich. Jan. 5, 2017). However, no court in this District has reached such a holding. Rather,

the Sixth Circuit in Mallory v. Ohio Univ. (76 Fed.Appx. 634, 639 (6th Cir. 2003) assumed that

such a claim was valid. In Mallory, the court described the three elements of a Title IX deliberate

indifference claim as requiring that a plaintiff establish:   (1) “an official of the institution had

authority to institute corrective measures had actual notice of, and was deliberately indifferent to,

the misconduct;” (2) the university’s conduct caused the student “to undergo harassment or make

[him/her] liable or vulnerable to it;” and (3) the university’s “response to the harassment . . . is

clearly unreasonable in light of the known circumstances.” Id. at 638.

       In this case, Gischel pled sufficient facts to establish all three elements of his deliberate

indifference claim. Gischel alleges that that he provided actual, written notice of the misconduct—

the bias against him which manifested in a flawed disciplinary proceeding—in his appeal to Smith,

who had authority to take corrective action to remedy the misconduct. See FAC, PageID #769 at

¶ 127-28. Despite having actual notice, neither Smith nor any other UC official took corrective

action, thus they were deliberately indifferent to the misconduct of Richey and Shaffer and allowed

a biased investigation, where information was withheld and/or manipulated, to serve as the basis

for expelling Gischel. The misconduct caused Gischel to be found responsible for sexual

misconduct, which ultimately led to severe emotional distress. See id., PageID # 734, 789, at ¶¶

26, 224, 232.

        In light of the known circumstances, UC’s conduct in this case was clearly unreasonable.

Based on the allegations set forth in the FAC, which must be accepted as true and construed in

Gischel’s favor, UC’s Motion to Dismiss this count should be denied.



                                                 24
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 30 of 43 PAGEID #: 1459



                4. UC’s motion to dismiss should be denied because Gischel has sufficiently
                   pled a Title IX selective enforcement claim based on allegations that UC
                   treats similarly situated females more favorably.

        As articulated in Marshall v. Ohio Univ., with regard to a Title IX selective enforcement

claim a plaintiff:

        essentially asserts that even if he or she did violate a university policy, the decision
        to initiate disciplinary proceedings or the severity of the penalty imposed was
        motivated by gender bias. To state such a claim, [a plaintiff] must allege "that a
        female was in circumstances sufficiently similar to his own and was treated more
        favorably by [defendant university]." Moreover, [a plaintiff] must allege facts that
        would demonstrate that the difference in treatment was because of his gender.

Marshall, 2015 U.S. Dist. LEXIS 155291, *17-18 (citations omitted). Here, Gischel has pled

plausible facts establishing that UC’s gender bias triggered flawed and unjust disciplinary

proceedings that caused UC to impose severe sanctions against Gischel even though the allegations

against him were patently false. See FAC, PageID#729-77 at ¶¶ 12-157. UC’s failure to take any

action about Schoewe’s grabbing Gischel’s penis without his permission is evidence of selective

enforcement under Title IX. Gischel was intoxicated when Schoewe grabbed his penis without her

permission, yet neither UC nor any UC official with knowledge of the allegations took any action

against Schoewe. Id., PageID #’s 754-781, ¶¶ 81, 83, 88, 112, 157, 178. Because Gischel has yet

to engage in discovery, he was forced to rely largely on information and belief allegations to

outline other examples of UC’s preferential treatment of females who engage in sexual

misconduct. Gischel alleges:

    •   Upon information and belief, UC possesses additional documentation evidencing UC’s
        unlawful patter of gender biased decision making which favors female students over male
        students like Gischel who are false accused of sexual assault. Evidence supporting this
        allegation includes, but is not limited to, UC’s failure to respond to Gischel’s public records
        request.” (FAC, ¶ 181, PageID #***);

    •   “Moreover, based on the information detailed in this Complaint, and upon information and
        belief, UC’s unlawful discipline of Gischel occurred, in part, because of UC’s archaic



                                                  25
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 31 of 43 PAGEID #: 1460



       assumptions that female students do not sexually assault fellow male students because
       females are less sexually promiscuous than males.” (Id. at ¶58, PageID #***);

   •   “Upon information and belief, the violations of UC Policies and Gischel’s due process
       and Title IX rights occurred because State Defendants embraced gender bias in UC’s
       training materials given to individuals investigating and adjudicating sexual assault
       allegations. Evidence supporting this belief includes, but is not limited to the 2015 ARC
       Training Outline-JDA, attached as Exhibit 30. Gender bias in this training material
       include, but are not limited to statements such as:

           o “Some men believe that spending money on a women means that she owes them sex
             at the end of the evening;”
           o “Some men believe that women play hard to get, by saying “no” when they really
             mean “yes” and enjoy being aggressively pursues;”
           o “Some men perceive that sex is their right;”
           o Falsely alleging large percentages of male students are sexually assaulting their
             female peers by claiming: (i) “It is estimated that for a school the size of the
             University of Cincinnati, about 1,225 rapes or attempted rapes occur each year”
             even though (ii) the training materials admit that in 2014 only “48 rapes reported
             to the SARC; of those, 2 reported to UCPD;”
           o “A woman has a 4x greater chance of being raped by someone she knows than by
             a stranger;” and
           o “83% of perpetrators are acquaintances (friends of the family, dates,
               boyfriends, relatives, authority figures);” Id., p. 29 (emphasis added).”

       (See FAC, PageID #750 at ¶69)

   •   “State Defendants’ have created a hostile environment based on gender which in turn
       creates an adverse educational setting in violation of Title IX in part because UC engages
       in sex stereotyping discrimination based on unlawful notions of masculinity and
       femininity. This hostile environment causes innocent males on UC’s campus to be
       unlawfully disciplined and interferes with males’ ability to participate in or benefit from
       various activities including learning on campus.” (Id. at ¶ 70); and

   •   “Upon information and belief, in virtually all cases of campus sexual misconduct by UC,
       the accused student is male and the accusing student is female.” (Id. at ¶ 170, PageID
       #780).

These types of allegations of preferential treatment have often been found sufficient to withstand

motions to dismiss. See, e.g., Waters, 105 F. Supp. 3d 780, 804 (rejecting motion to dismiss Title

IX claims where complaint alleged the university treated “similarly-situated female employees []

more leniently” when they “condon[ed]” sexual misconduct); Yap v. Northwestern University, 119



                                                   26
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 32 of 43 PAGEID #: 1461



F.Supp.3d 841, 845 (N.D. Ill 2015) (refusing to dismiss Title IX claim because Northwestern “did

not promptly respond to [plaintiff’s] sexual harassment claim . . . while Northwestern promptly

investigates similar complaints by female students); Salisbury Univ., 123 F. Supp. 3d at 768

(rejecting motion to dismiss Title IX claim based on allegations that the university had

communications evidencing that it favored female complainants against male respondents).

       Moreover, Gischel’s claim for Title IX selective enforcement is not, as UC suggests,

improper because of Gischel’s reliance on allegations based upon information and belief. See

MTD at PageID #1398, 1420.          Rather, Gischel based his selective enforcement claim on

information and belief allegations that female UC students engaging in sexual misconduct are

treated more favorably at UC. See FAC, ¶ 181, PageID #782. Numerous court decisions have

rejected universities’ motions to dismiss Title IX claims based on similar “information and belief”

allegations. See e.g., Doe v. Case Western Reserve Univ., 2017 WL 3840418, *6-7 (rejecting

motion to dismiss based in part (a) “information and belief” allegations that “there are no reported

incidents of male complaints against female students for sexual assault and/or no reports of female

accused students being disciplined for sexual misconduct by males;” (b) “information and belief”

allegations that university employees “are knowledgeable of the fact that complaints of sexual

misconduct are disproportionately lodged by females against males;” (c) “information and belief”

allegations that university “recognized the increased pressure, both internally, and from the United

States government to aggressively discipline male students accused of sexual misconduct, under

threat of rescission of federal funds;”); Doe v. The Trustees of The Univ. of Penn., No.16-5088,

2017 WL 4049033, *16-17 (Sept. 13, 2017) (rejecting motion to dismiss Title IX selective

enforcement claim that did not specifically identify a similarly situated female” because “we will

permit Plaintiff to conduct discovery to ascertain whether, in fact, there are facts to support his



                                                27
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 33 of 43 PAGEID #: 1462



allegations, based on information and belief, that similarly situated females are treated more

favorably than he was.”); Brown Univ., 2016 U.S. Dist. LEXIS 21027 at *28-29 (finding

allegations “pled ‘upon information and belief’ . . . [are not] improper under Twombly and Iqbal

. . . [and are] a permissible way to indicate a factual connection that a plaintiff reasonably believes

is true but for which the plaintiff may need discovery to gather and confirm its evidentiary basis.”);

Salisbury Univ., 123 F. Supp. 3d at 748 (finding alleging gender-bias “based solely ‘upon

information and belief,’ [] is a permissible . . . even after the Twombly and Iqbal decisions . . . .”)

Ritter v. Okla. City Univ., No. Civ–16–0438–HE, 2016 WL 3982554, *2 (W.D. Okla. July 22,

2016) (granted a temporary restraining order in part because plaintiff established Title IX claim

based on “information and belief” allegations); Prasad v. Cornell Univ., No.5:15-cv-322, 2016

WL 3212079 (N.D.N.Y. Feb. 24, 2016) (rejecting a motion to dismiss a Title IX claim filed by a

male student which was based in part on “information and belief” allegations); Cassidy v. Teaching

Co., LLC, No.2:13-cv-884, 2014 U.S. Dist. LEXIS 55022, *8 (S.D. Ohio, Sept. 4, 2014) ("The

Twombly plausibility standard . . . does not prevent a plaintiff from 'pleading facts alleged on

information and belief' where the facts are peculiarly within the possession and control of the

defendant, or where the belief is based on factual information that makes the inference of

culpability plausible.")).

        Additionally, given UC’s denial of most of Gischel’s public records request, Gischel

cannot plead more detailed information about how UC treats similarly situated female students

differently than male students. UC cannot on the one hand deny Gischel this information and on

the other hand ask for dismissal because Gischel cannot produce the information. Marshall v.

Indiana Univ., 170 F. Supp.3d 1201, 1210 (S. D. Ind. 2016) (denying IU’s motion to dismiss

because it denied the plaintiff access to facts). In this case, Gischel has adequately pled a claim for



                                                  28
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 34 of 43 PAGEID #: 1463



which relief can be granted in order to survive a motion to dismiss. See, e.g., Bethany A. Corbin,

Riding The Wave Or Drowning?: An Analysis Of Gender Bias And Twombly/Iqbal In Title IX

Accused Student Lawsuits, Fordham L. Rev., May 2017, p.18 (noting that such a requirement

“imposes an impossible burden on plaintiffs to identify evidence without discovery”).

       For all of these reasons, UC’s motion to dismiss Gischel’s selective enforcement claim

should be denied.

       C. Gischel’s § 1983 Claims Should Not Be Dismissed because Gischel Properly
          Alleged Facts Establishing the Individual Defendants’ Gender-Biased Conduct
          Resulted in a Violation of His Procedural and Substantive Due Process and
          Equal Protection Rights.
       Gischel asserted claims under 42 U.S.C. § 1983 for Individual Defendants’ violations of

procedural and substantive due process and a violation of equal protection under the Fourteenth

Amendment based on their gender-biased conduct. Those claims were supported with properly

pled allegations of gender bias. The Court should not dismiss these claims.

                    1. Gischel stated a claim for equal protection based on the Individual
                       Defendants’ unequal treatment of male students.

       The gender bias detailed in Gischel’s Amended Complaint also establishes his claim that

Individual Defendants violated his equal protection rights. To establish an equal protection

violation, a plaintiff must show that a defendant has “burdened a fundamental right, which he was

exercising, targeted a suspect class, of which he is a part, or treated him any differently than others

similarly situated without any rational basis.” Radvansky v. City of Olmsted Falls, 395 F.3d 291,

313 (6th Cir. 2005) (emphasis added). In the FAC, Gischel alleged that UC treated him differently

than Schoewe, who had sexually assaulted him by grabbing his penis, as well as other female

students accused of sexual assault. See FAC at ¶¶ 81, 83, 88, 112, 157, 178, 186




                                                  29
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 35 of 43 PAGEID #: 1464



                   2. Gischel stated a claim for violation of substantive due process based
                      on the Individual Defendants’ violation of Gischel’s equal protection
                      rights.

       The Fourteenth Amendment provides that “[n]o State shall . . . deprive any person of life,

liberty, or property without due process of law.” U.S. Const. Amend. XIV, § 1. Gischel alleged

the Individual Defendants’ gender bias violated Gischel’s protected property interest in his

education and right to pursue an education and future educational opportunities and occupational

liberty. See FAC at ⁋ 200, PageID #785. He also alleged the Individual Defendants caused an

arbitrary abuse of executive power so egregious it shocks the conscience. See id. at ⁋ 207, PageID

#786. As support for his assertion that the Individual Defendants gender bias shocked the

conscience, Gischel cited to Richey’s biased investigation because of his romantic relationship

with Schoewe, the destruction of and failure to consider exculpatory evidence, and other Individual

Defendants’ failure to address or remedy these violations. See id. at ⁋⁋ 204-07, PageID #786.

       The Sixth Circuit’s decisions in Bell v. Ohio State Univ., 351 F.3d 240, 251 (6th Cir. 2003)

and Rogers v. Tennessee Bd. of Regents, 273 F.App'x 458, 463 (6th Cir. 2008), both acknowledge

a substantive due process violation can occur if a university violates a student’s equal protection

rights. See Bell, 351 F.3d 250-251; Rogers, 273 F.App’x at 463. As set forth above, Gischel has

asserted an equal protection violation premised on the Individual Defendant’s unequal treatment

of male and female students, and Richey’s gender-biased investigation. This equal protection

violation thus provides an additional basis for Gischel’s substantive due process claim. Therefore,

the district court erred in dismissing this claim.

                   3. Gischel stated a claim for violation of procedural due process based
                      on the gender-biased disciplinary proceedings.

       “To establish a procedural due process claim, [Gischel] must show that (1) [he] had a life,

liberty, or property interest protected by the Due Process Clause; (2) [he] was deprived of this

                                                     30
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 36 of 43 PAGEID #: 1465



protected interest; and (3) the state did not afford it adequate procedural rights.” Daily Servs., LLC

v. Valentino, 756 F.3d 893, 904 (6th Cir. 2014). The Sixth Circuit has held that suspension

resulting from a university’s disciplinary decision “clearly implicates a property interest.”

Cummins, 662 Fed. Appx. at 445.

       In Cummins, this Court provided the analytical framework for determining what process is

due when a property interest is at stake. Relying on Mathews v. Eldredge, 424 U.S. 319, 332

(1976), the Court determined that the level of process required by the Fourteenth Amendment is

determined by balancing three factors: “(1) the nature of the private interest affected by the

deprivation; (2) the risk of an erroneous deprivation in the current procedures used, and the

probable value, if any, of additional or alternative procedures; and (3) the governmental interest

involved, including the burden that additional procedures would entail.” Cummins, 662 Fed. Appx.

at *14. Importantly, although the inquiry is intended to be flexible, due process requires, at a

minimum, “the opportunity to be heard ‘at a meaningful time and in a meaningful manner.’” Id.

at *15. In the school-disciplinary context, this means an accused student must at least receive the

following: (1) notice of the charges; (2) an explanation of the evidence against him; and (3) an

opportunity to present his side of the story before an unbiased decisionmaker. Heyne v. Metro.

Nashville Pub. Sch., 655 F.3d 556, 565-66 (6th Cir. 2011) (citing Goss v. Lopez, 419 U.S. 565,

581 (1975).

       With regard to the requirement that a student be afforded an opportunity to present his side

of the story before an unbiased decisionmaker, the Sixth Circuit has been very clear: “[p]rocedural

due process is not satisfied when a person has a protected interest under the Due Process Clause

and the individual responsible for deciding whether to deprive that person of his interest is biased.”

Heyne, 655 F.3d at 566, citing Withrow v. Larkin, 421 U.S. 35, 47 (1975); see also Nasierowksi



                                                 31
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 37 of 43 PAGEID #: 1466



Bros. Inv. Co. v. City of Sterling Heights, 949 F.2d 890, 897 n.8 (6th Cir. 1991) (“[I]t is a hallmark

of procedural due process that ‘a biased decisionmaker is constitutionally unacceptable. . . '”). So,

for example, in Heyne, this Court determined a plaintiff stated a claim for violation of procedural

due process where the plaintiff alleged the principal was biased in disciplinary proceedings against

the plaintiff. In support of his assertion of bias, the plaintiff alleged that the principal had, among

other things, failed to discipline an African-American student for making a threat, even though the

student code of conduct prohibited threats; and disciplined the plaintiff, who was white, to cover

the school district from liability in the face of a threated lawsuit. See id. at 568.

        Similar to the plaintiff in Heyne, Gischel detailed how gender bias caused a number of

procedural deficiencies which form the basis for his procedural due process claim in Section 4 of

the FAC. For example, Gischel alleged Individual Defendants found him responsible when a

preponderance of the evidence did not support the finding. See FAC, PageID#771 at ⁋ 138. Doe

alleged UC did not provide him a prompt, reliable and impartial adjudication as required by UC’s

policies and by the DOE. See id., PageID#772 at ⁋ 139. Gischel also detailed how Richey’s

interrogation of him violated federal law. See id. at ⁋ 140. Gischel alleged Individual Defendants

withheld providing him notice of the Title IX complaint to deny him right to which he is entitled

under UC’s policies. See id., Page ID#773-74 at ⁋ 141-44. A “[u]niversity's failure to follow its

own procedural guidelines” can violate due process if the violations “affect the fundamental

fairness of [a] hearing.” Winnick v. Manning, 460 F.2d 545, 550 (2d Cir. 1972). Here, Gischel

alleged in detail how UC’s violations of its own policies impacted the fundamental fairness of

Gischel’s hearing. See FAC, PageID#771-79 at ⁋⁋ 135-57. For this reason as well his claim should

not have been dismissed.




                                                  32
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 38 of 43 PAGEID #: 1467



       But, perhaps most importantly, a substantial portion of the FAC is devoted to identifying

how Individual Defendants’ gender bias deprived Gischel of the opportunity to present his side of

the story before an unbiased decisionmaker, as required by Heyne.             In particular, Gischel

specifically alleged Detective Richey prepared the investigatory report upon which the hearing

panel relied, and we know he did not include all relevant information. Reliance on this

investigatory report, combined with the gender-biased training of the hearing panel members, is

sufficient evidence to state a claim for violation of due process. See FAC at ⁋750, 69, 72-78,

PageID #750-. See e.g., Supra, p.17 (discussing how Penn. St. Univ. and Case Western Reserve

Univ. rejected motions to dismiss claims similar to those raised by Gischel in part because plaintiffs

alleged biased investigations contributed to plaintiffs’ erroneous discipline).

       Because of Richey’s romantic interest in Schoewe, there was simply no way for him to be

an impartial decision maker. “[A] biased decisionmaker [is] constitutionally unacceptable, [and]

‘our system of law has always endeavored to prevent even the probability of unfairness.’

” Withrow v. Larkin, 421 U.S. 35, 47, 95 S.Ct. 1456, 43 L.Ed.2d 712 (1975) (quoting In re

Murchison, 349 U.S. 133, 136, 75 S.Ct. 623, 99 L.Ed. 942 (1955)). But “[i]n the university setting,

a disciplinary committee is entitled to a presumption of honesty and integrity, absent a showing of

actual bias.” McMillan v. Hunt, 968 F.2d 1215 (6th Cir. 1992) (unpublished table decision)

(citing Ikpeazu v. Univ. of Neb., 775 F.2d 250, 254 (8th Cir. 1985)); see also Hill v. Bd. of Trs. of

Mich. State Univ., 182 F.Supp.2d 621, 628 (W.D. Mich. 2001). Actual bias can be “personal

animosity, illegal prejudice, or a personal or financial stake in the outcome.” Ikpeazu, 775 F.2d at

254. See Doe v. Ohio State University, 219 F. Supp.3d 645, 658 (S.D. Ohio 2016) (refusing to

dismiss a student’s due process claim because the complaint pled facts that the training of hearing

panel members in a manner intended to produce bias against men accused of sexual misconduct).



                                                 33
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 39 of 43 PAGEID #: 1468



       In addition, Gischel specifically alleged how the hearing panel (because of their training

and the gender bias detailed herein) refused to ask crucial questions that Richey presented

concerning the propriety of the investigation because of Richey and Schoewe’s relationship and

about whether Schoewe was incapacitated. See, e.g., Penn. St. Univ., No.17-cv-1315, 2017 WL

3581672, *7-8 (granting preliminary injunction in due process claim because hearing panel refused

to ask accuser certain written questions presented by plaintiff when: (a) hearing panel’s claim that

questions related to impermissible “new evidence” was false since the questions addressed

accuser’s alleged “medical examination” which was raised previously in the proceeding, and (b)

the “medical exam could unquestionably affect the credibility of [accuser] by (1) confirming its

ultimate existence, and (2) corroborating or discrediting her allegations against” plaintiff). Nokes

v. Miami Univ., No. 1:17-cv-482, 2017 WL 3674910, *10 (S.D.OH. Aug. 25 2017)(granting

preliminary injunction in due process claim in part because plaintiff’s “disciplinary hearing turned

on the credibility of the witnesses many of which were absent for cross-examination . . . [as a

result the] Court cannot and will not guess at: (1) how those absent witnesses would have fared

during questioning; and (2) how the panel would have weighed the absent witnesses’ testimony.”).

       As was the case in Heyne, “[t]hese are the kinds of specific facts, indicating the present of

pre-existing bias, that this Court has recognized could rise to a valid claim for infringement of the

due process right to an impartial decisionmaker[.]” See id. at 568.

       In response, Defendants may argue Gischel’s cross examination concerns lack merit

because he cannot prove the answers to his questions would have changed the outcome of his

disciplinary proceeding. This Court rejected this argument when it was raised in opposition to

preliminary injunction motion sought by a male plaintiff like Gischel who alleged he was falsely

accused of sexual misconduct. Nokes, 2017 WL 3674910, *12, fn10 (rejecting argument that



                                                 34
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 40 of 43 PAGEID #: 1469



preliminary injunction must be denied because plaintiff cannot establish his cross-examination of

witnesses “would have changed the ‘outcome’” of the disciplinary hearing). Therefore, this Court

should reject any “changed outcome” argument advanced by Defendants and reject Defendants’

motion to dismiss.

       D. The Individual Defendants Are Not Entitled to Qualified Immunity as to the
          University’s Title IX Proceeding because They Violated Clearly Established
          Statutory and/or Constitutional Rights of Which a Reasonable Person Would
          Have Known.

       Qualified immunity shields government officials performing discretionary functions from

liability if they have violated an individual's constitutional right, but that right was not “clearly

established” when the officials acted. See Marvin v. City of Taylor, 509 F.3d 234, 243 (6th Cir.

2007). To determine whether a government official is entitled to qualified immunity, courts apply

a two-part test: “(1) whether, considering the allegations in a light most favorable to the party

injured, a constitutional right has been violated, and (2) whether that right was clearly established.”

Colvin v. Caruso, 605 F.3d 282, 290 (6th Cir. 2010) (quoting Estate of Carter v. City of Detroit,

408 F.3d 305, 310 (6th Cir. 2005)).

       As set forth above, Gischel properly alleged gender bias triggered violations of Title IX

and his due process and equal protection rights. There is no question that the due process right to

an impartial decisionmaker is clearly established, as is the right to equal protection under the

Fourteenth Amendment. See, e.g., Heyne, 655 F.3d at 568-569; see also Rondigo v. Twp. of

Richmond, 641 F.3d 673 (6th Cir., 2011) (“It was clearly established that the Equal Protection

Clause prohibited intentional gender discrimination . . . “). Accordingly, the Individual Defendants

were not entitled to qualified immunity and its decision should be reversed.




                                                  35
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 41 of 43 PAGEID #: 1470



       E. Gischel Adequately Pled His Claim of Malicious Prosecution under the Fourth
          Amendment to the United States Constitution Pursuant to 42 U.S.C. § 1983.

       In arguing for dismissal of Gischel’s malicious prosecution claim, Defendants ignore Sixth

Circuit case law and the crucial fact that the indictment against Gischel was dismissed with

prejudice due to Richey’s withholding and destruction of relevant, presumable exculpatory

evidence and corroboration with Schoewe to do the same. Under the applicable case law, these

facts are sufficient to plead a claim for malicious prosecution under Section 1983.

       The elements of a Section 1983 claim for malicious prosecution are: (1) a criminal

prosecution was initiated against the plaintiff, and the defendant made, influenced, or participated

in the decision to prosecute; (2) there was a lack of probable cause for the criminal prosecution;

(3) the plaintiff suffered a deprivation of liberty, as understood under Fourth Amendment

jurisprudence, apart from the initial seizure; and (4) the criminal proceeding was resolved in the

plaintiff's favor. Sykes v. Anderson, 625 F.3d 294, 309-10 (6th Cir. 2010).

       Defendants’ sole argument for dismissal of the malicious prosecution claim is that the

indictment in and of itself establishes probable cause. However, this is not an accurate statement

of law. An indictment creates a presumption that probable cause exists, but that presumption can

be overcome. In fact, the Sixth Circuit has held that the presumption that probable cause existed

because there was an indictment is overcome when a police officer fabricates or hides evidence.

See King v. Harwood, 852 F.3d 568, 591 (6th Cir. 2017). Detective Richey’s outrageous conduct

of withholding and destroying evidence is the exact type of behavior from a trained police office

that the Sixth Circuit finds sufficient to plead a malicious prosecution claim. Id. The other elements

of the claim are likewise sufficiently pled—a criminal prosecution was initiated against Gischel,

he suffered a deprivation of liberty and the criminal prosecution was resolved in his favor. (See

FAC ⁋ 86, 126, 225-23). Thus, Gischel’s malicious prosecution claim survives.


                                                 36
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 42 of 43 PAGEID #: 1471



       F. Defendant Richey Is Not Entitled to Qualified Immunity from the Section 1983
          Malicious Prosecution Claim

       It is not clear in the motion to dismiss whether Richey is requesting qualified immunity

against the malicious prosecution claim. Presumably, this is because the law is well-established

that Richey is not entitled to qualified immunity because of his refusal to provide evidence to the

criminal court, destruction of that evidence, and involvement with Schoewe’s destruction and

withholding of similar evidence. Applying the test articulated in Section D, supra, qualified

immunity does not apply to a police officer who has withheld and destroyed evidence to obtain an

indictment.

       First, a constitutional violation is properly alleged. Namely, Gischel alleged Richey

wrongfully investigated him and withheld and destroyed exculpatory evidence to manufacture

probable cause in violation of the Fourth Amendment. Second, Richey “cannot seriously contend

that a reasonable police officer would not know that such actions were inappropriate and performed

in violation of an individual’s constitutional and/or statutory rights.” See Spurlock v. Satterfield,

167 F.3d 995, 1006 (6th Cir. 1999). In Spurlock, the Sixth Circuit found that police officers, such

as Richey, who withhold or destroy evidence to support probable cause, are not entitled to qualified

immunity. Id. at 1004-07.

       G. UC’s Motion to Dismiss Gischel’s Declaratory Judgment Claim Should Be Denied
          Because That Claim Is Tied to Viable, Underlying Claims.

       Count 7 of Gischel’s FAC requests a declaratory judgment that UC violated Gischel’s

rights under UC Policies, Title IX and/or OCR regulations. As detailed throughout the FAC, and

as is expressly incorporated by reference in Count 7, UC did so by violating its policies, , acting

negligently, and violating Gischel’s rights under Title IX.        As such, Gischel’s request for

declaratory relief is tied to the underlying claims contained in the FAC. As set forth above, those



                                                 37
 Case: 1:17-cv-00475-SJD Doc #: 12 Filed: 11/08/17 Page: 43 of 43 PAGEID #: 1472



claims are viable in all respects. Gischel’s claim for declaratory judgment should therefore not be

dismissed.

    IV.      CONCLUSION

          For the reasons set forth above, Gischel respectfully requests an order from this Court

denying UC’s motion to dismiss the claims asserted against it.

                                                   Respectfully Submitted,

                                                   /s/ Eric Rosenberg________
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                                                   Counsel for Plaintiff


                                    CERTIFICATE OF SERVICE


          I hereby certify that on November 8, 2017, a copy of the foregoing Memorandum Contra

was filed electronically with the Clerk of the Court using the CM/ECF system, which will send

notice of such filing to all registered parties.




                                                   /s/ Eric J. Rosenberg________
                                                   Counsel for Plaintiff Tyler Gischel




                                                     38
